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UNITED STATES DISTRICT COURT
DISTRICT OF KANSAS

Miguel Coca, et al.
Plaintiff(s), ) CIVIL ACTION
) CASE NO. 22-CV-1274
V. )
City of Dodge City, et al.
Defendant(s). )

ADR REPORT

TYPE OF ADR: Mediation Other: O

 

Name of Mediator or other Neutral; Hon. Deanell Tacha (Ret.)
ADR Session Held (date): February 8, 2023

Additional Session(s) Held, if any (date):

Results of Referral to ADR:
[__]Case settled before ADR Case did not settle

[_]Case settled at ADR session _[_] Case settled in part

Mediation Fees (answer only if private mediator used): Unknown at this time
Did neutral serve pro bono? YesL] orNo YW.

Did neutral serve for a reduced fee? YesL] orNo W.

Status of litigation when ADR occurred—please check one:
TROO pre-discovery L] partial discovery discovery complete 0
pending dispositive motion O After dispositive motion ruling O other

Length of ADR session: Half-day

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Dated: 02/10/2023 4 Ly, /.

Attorney Signature

 

(ATTENTION: This form is to be FILED by defense counsel within fourteen days of the
conclusion or cancellation of the ADR session. This form must be completed and returned even
if the ADR session was not held. Additional forms may be retrieved from the Court's website
at https://ksd.uscourts.gov/attorney-forms).

THIS FORM IS FILED
No information other than that specifically requested should be included on this form.

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